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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

AYMAN SALEH, et al.,                    )
                                        )
            Plaintiffs,                 )
                                        )
      v.                                )     Case No. 1:20-cv-01168-ABJ
                                        )
PRESIDENT KHALIFA BIN ZAYED             )
AL NAHYAN, et al.,                      )
                                        )
            Defendants.                 )
____________________________________    )

    DEFENDANTS PRESIDENT KHALIFA BIN ZAYED AL NAHYAN AND
        CROWN PRINCE MOHAMED BIN ZAYED AL NAHYAN’S
     REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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                                         INTRODUCTION

       Plaintiffs’ opposition brief confirms that there is no basis for this action to proceed in this

Court against the President of the United Arab Emirates and the Crown Prince of Abu Dhabi

(together, the “Head-of-State Defendants”).

       As to personal jurisdiction, plaintiffs point to no facts in their complaint that show any

affiliation between the underlying controversy—the alleged assault on Ayman Saleh in the UAE—

and the United States as a whole, never mind the specific District of Columbia forum in which

they have sued. Plaintiffs’ assertion that the Head-of-State Defendants directed the assault against

the United States is not only devoid of any factual basis, but also contradicted by their own claim

that the attackers released Mr. Saleh as soon as they realized his connection with the United States.

       Plaintiffs’ responses (to the extent they respond at all) to the Head-of-State Defendants’

other threshold arguments for dismissal comprise little more than conclusory allegations and legal

misunderstandings. Plaintiffs fail to rebut the Head-of-State Defendants’ contentions that the

Foreign Sovereign Immunities Act (“FSIA”) bars their claims, that the President and the Crown

Prince are entitled to both status-based and conduct-based immunity, that plaintiffs’ state-law

claims are time barred (for reasons this Court has already found), and that plaintiffs have failed to

meet the exhaustion requirement of the Torture Victims Protection Act (“TVPA”). Even the

allegations advanced for the first time in plaintiffs’ opposition fall well short of the Iqbal standard.

       For these reasons and those stated in the motion to dismiss, plaintiffs’ complaint cannot be

maintained against either the President or the Crown Prince and should be dismissed as to both

Head-of-State Defendants.




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                                          ARGUMENT

I.     THE COMPLAINT SHOULD BE DISMISSED FOR LACK OF PERSONAL
       JURISDICTION

       A.      Plaintiffs Have Not Established Personal Jurisdiction Under D.C. Law

       Plaintiffs have failed to plead facts sufficient to establish personal jurisdiction over the

Head-of-State Defendants under the D.C. long-arm statute. Plaintiffs rely solely on D.C. Code

§ 13-423, which requires (in pertinent part) that (i) defendants “regularly” transact business or

engage in a “persistent” course of conduct in the District of Columbia, and (ii) the claims arise

from such acts. Yet the complaint contains only a single paragraph of vague and conclusory

allegations that the Head-of-State Defendants “are currently conducting business” here, that they

have “hired public relations firms” here, and that they “have visited this jurisdiction on a number

of occasions.” Compl. ¶ 5, ECF No. 1. None of those minimal allegations establishes long-arm

jurisdiction over the Head-of-State Defendants. See ECF No. 41 (“MTD”), at 6-8.

       In their opposition, plaintiffs for the first time contend that the Head-of-State Defendants

conduct business in the District of Columbia because (i) the UAE embassy is located in the District,

(ii) the UAE has worked with a specific D.C. public relations firm, and (iii) the US-UAE Business

Council is located in the District. ECF No. 42 (“Opp’n Br.”), at 4-5. Those allegations do not help

plaintiffs because they concern the UAE—a separate defendant in this suit that has yet to be served.

See MTD 4 n.4.1 In any case, these allegations are not properly before the Court because plaintiffs

did not include them in their complaint. See Williams v. Donovan, 219 F. Supp. 3d 167, 177-78




       1
         Plaintiffs appear to direct their opposition to the UAE as well as the Head-of-State
Defendants. To be clear, the UAE has never been served, and the Head-of-State Defendants’
motion to dismiss was not filed on behalf of the UAE.

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(D.D.C. 2016) (“[Plaintiffs] may not amend [their] complaint via the briefs in opposition to a

motion to dismiss.”).

       Plaintiffs—fatally—still do not provide any basis (either in the complaint or otherwise) for

concluding that the claims asserted against the Head-of-State Defendants “aris[e] from” any of

those purported District of Columbia activities. See D.C. CODE § 13-423(b) (“When jurisdiction

over a person is based solely upon [section 13-423], only a claim for relief arising from acts

enumerated in this section may be asserted against him.” (emphasis added)). In the absence of

such a showing, District of Columbia law does not permit personal jurisdiction over the Head-of-

State Defendants.

       B.      Plaintiffs Fail To Allege Sufficient Contacts Between The Underlying
               Controversy And The Forum To Satisfy Due Process Or Rule 4(k)(2)

       Plaintiffs also now appear to rely on Federal Rule of Civil Procedure 4(k)(2)—a basis never

asserted in the complaint. Rule 4(k)(2) permits a federal court to exercise personal jurisdiction

over a defendant for claims arising under federal law so long as “the defendant is not subject to

the jurisdiction of any single state court” and “the exercise of federal jurisdiction is consistent with

the Constitution (and laws) of the United States.” Mwani v. bin Laden, 417 F.3d 1, 10 (D.C. Cir.

2005). Even if satisfied, Rule 4(k)(2) at most could be used to establish personal jurisdiction only

with respect to plaintiffs’ federal claims (Counts Three and Six). See id. But plaintiffs cannot rely

on Rule 4(k)(2) at all because any exercise of federal jurisdiction here would be inconsistent with

constitutional due process.

       To satisfy due process, plaintiffs must demonstrate “an affiliation between the forum and

the underlying controversy.” Bristol-Myers Squibb Co. v. Sup. Ct. of Cal., S.F. Cty., 137 S. Ct.

1773, 1780 (2017). Although the relevant forum for purposes of Rule 4(k)(2) is “the United States

as a whole,” Mwani, 417 F.3d. at 10, and not just the District of Columbia, nothing in the complaint


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suggests that the President or the Crown Prince “purposefully avail[ed]” himself of the privilege

of doing business anywhere in the United States in a way that is connected to the underlying

controversy. Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1026 (2021)

(alteration in original).

        The underlying controversy in this case—the alleged assault on Mr. Saleh—is claimed to

have taken place in a foreign country by foreign actors against a foreign citizen (as Mr. Saleh was

at the time). Compl. ¶ 20. Controlling precedent is clear—and undisputed here—that when an

alleged tortious act is committed abroad, it does not create personal jurisdiction in the United States

unless the act was calculated to cause injury within the United States or was otherwise directed at

the United States. See Price v. Socialist People’s Libyan Arab Jamahiriya, 294 F.3d 82, 95 (D.C.

Cir. 2002); Doe 1 v. Buratai, 318 F. Supp. 3d 218, 228 (D.D.C. 2018). Plaintiffs attempt to argue

that the alleged assault was “directed at the United States” by claiming that Mr. Saleh was targeted

“for his activities that occurred in the United States,” namely his baptism and the free exercise of

his religion. Opp’n Br. 6. Were those factual allegations actually contained in plaintiffs’ complaint

(they are not), it would still “require a logical leap to conclude that this specific attack—with no

evident connections to the U.S.—was in fact directed at the United States.” Livnat v. Palestinian

Auth., 82 F. Supp. 3d 19, 35 (D.D.C. 2015), aff’d, 851 F.3d 45 (D.C. Cir. 2017). Indeed, plaintiffs’

(new) allegation that it was Mr. Saleh’s relations with the United States that “ultimately led to his

release” (Opp’n Br. 6) suggests that Mr. Saleh’s alleged attackers were determined not to target

the United States.

        Plaintiffs’ reliance on Mwani—a case in which the D.C. Circuit concluded that Osama Bin

Laden and Al Qaeda had “fair warning” that they would be subject to U.S. jurisdiction when they

orchestrated the bombing of the U.S. Embassy in Nairobi—serves only to demonstrate how far



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plaintiffs are from making the requisite jurisdictional showing. In Mwani, plaintiffs alleged “an

ongoing conspiracy to attack the United States, with overt acts occurring within [United States]

borders.” 417 F.3d at 13. In this case, plaintiffs do not suggest that the alleged assault was meant

to be communicated to or “felt” by the United States in any way. Id.

       Lacking any legal or factual basis for establishing personal jurisdiction over the Head-of-

State Defendants, plaintiffs seek to avert dismissal by requesting jurisdictional discovery. This

Court should deny that request because plaintiffs do not “suggest that jurisdictional discovery

could generate additional facts connecting this specific attack to the U.S.” Livnat, 82 F. Supp. 3d

at 35. Courts do not allow plaintiffs to “use jurisdictional discovery to conduct a fishing expedition

in the hopes of discovering some basis of jurisdiction.” CapitalKeys, LLC v. Democratic Republic

of Congo, No. 15-cv-2079, 2021 WL 2255362, at *18 (D.D.C. June 3, 2021) (internal quotation

marks omitted).

II.    THE PRESIDENT AND CROWN PRINCE ARE IMMUNE FROM SUIT

       A.      The FSIA Requires Dismissal Because The UAE Is The Real Party-In-Interest

       In their motion to dismiss (at 10-11), the Head-of-State Defendants explained that

plaintiffs’ suit is in reality one against the UAE and thus subject to the FSIA’s immunity bar.

Plaintiffs’ sole response is to reiterate that plaintiffs “have sued both the state and individuals” and

to assert that “the UAE is not the only real party-in-interest.” Opp’n Br. 8. But the Supreme Court

has warned that a plaintiff’s “artful pleading” cannot sidestep the FSIA simply by naming

“individual official[s]” as defendants. Samantar v. Yousuf, 560 U.S. 305, 324 (2010). Plaintiffs

fail to explain why their complaint’s allegations concerning the Head-of-State Defendants should

not be treated as tantamount to allegations against the UAE government, “the real party in interest.”

Id. at 325.    In fact, plaintiffs elsewhere treat the UAE and the Head-of-State Defendants

interchangeably. See Opp’n Br. 5 (relying on UAE to establish personal jurisdiction); see also

                                                   5
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MTD 11, 15-16 (identifying examples from complaint). As a result, plaintiffs effectively concede

that their action against the Head-of-State Defendants creates the “potential for injury to the

interests of the absent sovereign,” and thus must be dismissed under the FSIA. Samantar, 560

U.S. at 325; see Saleh v. Al Nahyan, No. 20-cv-1168 (ABJ), 2021 WL 4306113, at *5 (D.D.C. Sept.

22, 2021) (deeming claim “conceded” where plaintiffs “[did] not respond . . . in their opposition”).

       B.       The Head-of-State Defendants Are Protected By Status-Based Immunity

       At any rate, both the President and Crown Prince are protected by the common law

principle of status-based immunity, which shields certain high-level foreign officials from legal

proceedings in the United States. Yousuf v. Samantar, 699 F.3d 763, 772 (4th Cir. 2012); see

MTD 12-14. Plaintiffs have no response to the argument that H.H. Sheikh Khalifa, the President

of the UAE, is entitled to status-based immunity. Plaintiffs merely make the claim, without citation

or explanation, that the President cannot assert status-based immunity “due to the FSIA.” Opp’n

Br. 8. That is a non sequitur. “Even if a suit is not governed by the [FSIA], it may still be barred

by foreign sovereign immunity under the common law.” Samantar, 560 U.S. at 324.

       Plaintiffs’ arguments with respect to the Crown Prince, H.H. Sheikh Mohamed, are equally

unavailing. The Crown Prince has been considered the functional head of state for the UAE, and

treated as such by the United States, since 2014, when the President was afflicted by a serious

health condition following a stroke. KENNETH KATZMAN, CONG. RSCH. SERV., RS21852, THE

UNITED ARAB EMIRATES (UAE): ISSUES FOR U.S. POLICY 1-2 (2020)2; see also MTD 13-14 (listing

Crown Prince’s bilateral meetings with heads of states and heads of governments). Thus, just as the

President enjoys status-based immunity as head of state, so too does the Crown Prince. Given

plaintiffs’ allegation that the Crown Prince “is considered the de facto ruler of the UAE,” Compl.



       2
           https://crsreports.congress.gov/product/pdf/RS/RS21852/129.

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¶ 9, they cannot now “amend [their] complaint via the[ir] brief[] in opposition,” Williams, 219 F.

Supp. 3d at 177-78, to say that the Crown Prince is in fact “not a head of state,” Opp’n Br. 8.3

       Moreover, status-based immunity is not limited to heads of state alone. On the contrary, it

“has been applied to family members of a head of state and to prime ministers and other members

of the ‘government.’” WORKING GROUP OF THE ABA, REPORT ON THE U.S. FOREIGN SOVEREIGN

IMMUNITIES ACT 56 (2001)4; see MTD 12-13. Both the President and Crown Prince are therefore

entitled to status-based immunity under the common law.

       C.       The Head-of-State Defendants Are Protected By Conduct-Based Immunity

       Beyond status-based immunity, under the Restatement (Second) of Foreign Relations Law

of the United States § 66(f) (1965), a foreign official may be protected by conduct-based immunity

so long as three factors are present: (1) the defendant is a “public minister, official, or agent of the

[foreign] state”; (2) the alleged “acts [were] performed in his official capacity”; and (3) “the effect

of exercising jurisdiction would be to enforce a rule of law against the state.” RESTATEMENT

§ 66(f). For its part, the United States has emphasized that the near-dispositive question is the

second one—i.e., whether the alleged acts were taken by foreign officials’ in their official capacity.

See MTD 14-15. The Head-of-State Defendants have explained why they, as President and Crown

Prince, meet all the conduct-based immunity standards. MTD 14-17.

       In response, plaintiffs first argue (Opp’n Br. 9) that the TVPA overrides conduct-based

immunity. Even if that were true, that conclusion would be relevant to plaintiffs’ TVPA claim

(Count Three) alone. But plaintiffs overread the TVPA and the D.C. Circuit’s decision in Lewis v.


       3
          Plaintiffs cite a California district court decision from 2010 denying the Crown Prince
status-based immunity. See Hassen v. Nahyan, No. 2:09-cv-1106 (C.D. Cal. Sept. 17, 2010), ECF
No. 53. That decision issued four years before the President’s stroke and is thus irrelevant to the
Crown Prince’s current status.
        4
          https://tinyurl.com/3cuh6z8z.

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Mutond, 918 F.3d 142, 147 (D.C. Cir. 2019), cert. denied, 141 S. Ct. 156 (2020). In that case, the

D.C. Circuit nowhere suggested conduct-based immunity is categorically unavailable for TVPA

claims. Instead, it stated only that “[i]n the opinion by Senior Judge Randolph, which is joined in

relevant part by Judge Srinivasan, we provide the alternative holding that the TVPA displaces

conduct-based immunity in this context.” Id. at 144 (emphasis added). The context here is

different. Unlike in Mutond, and for reasons sets forth in the motion to dismiss that plaintiffs do

not contest, the effect of exercising jurisdiction over the Head-of-State Defendants would be to

enforce a rule of law against the state. Compare MTD 16-17 (describing how finding of liability

as to leaders of UAE for actions taken as UAE’s leaders would necessarily implicate liability of

UAE itself), with Mutond, 918 F.3d at 147 (concluding that taking foreign officials away from

their official state duties was insufficient to satisfy the third prong of conduct-based immunity).

Conduct-based immunity in this case thus does not render the TVPA a nullity. This Court should

in any case refrain from making any sweeping statements regarding the interplay between conduct-

based immunity under Restatement § 66(f) and the TVPA—especially given that plaintiffs devote

one sentence to the subject and the TVPA claim fails on other grounds.

        Plaintiffs next assert (Opp’n Br. 9) that the Head-of-State Defendants are not entitled to

conduct-based immunity because they “did not act in their official capacity as Heads of States” in

committing the alleged acts. But plaintiffs cannot circumvent conduct-based immunity through

such “[t]hreadbare recitals . . . [and] mere conclusory statements.” Ashcroft v. Iqbal, 556 U.S. 662,

663 (2009); see Adams v. Kan. State Univ., 27 F. Supp. 2d 469, 471 (S.D.N.Y. 1998) (“Plaintiffs’

conclusory statement that the ‘defendants were not acting in their official capacity when they

committed [the acts]’ is not sufficient to prove that the individual defendants were acting other

than in their official capacities.” (citation omitted)).



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       All indications in plaintiffs’ complaint point to the President and Crown Prince having

undertaken the alleged acts in their official capacities. MTD 15-16. Critical actions attributed in

the complaint to the President or Crown Prince are likewise attributed to the UAE government.

For instance, the complaint avers both that it was the Head-of-State Defendants that hired the

security company that employed the security agents in question, see Compl. ¶¶ 13, 30, 33, 38, 40,

44, and that it was the UAE that did so, see id. ¶¶ 6, 46, 48, 49, 50. Plaintiffs further allege that

the Crown Prince and UAE adopted the same policy of close surveillance of UAE citizens. See

id. at 11-12. Further still, plaintiffs’ TVPA and civil conspiracy claims are brought against both

Head-of-State Defendants and the UAE, see Counts Three and Eight, while the claim for the actual

assault is brought against the UAE alone, see Count One. Nowhere does the complaint allege that

the Head-of-State Defendants acted beyond the scope of their authority, or that their actions were

not taken on behalf of the state. See Rishikof v. Mortada, 70 F. Supp. 3d 8, 13 (D.D.C. 2014).

Hence, despite plaintiffs’ unsupported assertion in their opposition brief, nothing in the complaint

suggests that the Head-of-State Defendants acted in their personal capacities with respect to the

alleged assault.

III.   PLAINTIFFS FAIL TO STATE A CLAIM

       A.      Plaintiffs Have Conceded That Their “Invidious Persecution” And Civil
               Conspiracy Claims (Counts Six And Eight) Should Be Dismissed

       Plaintiffs have abandoned their “invidious persecution” claim (Count Six), which was

apparently brought under the Alien Tort Statute (“ATS”), by making no mention of it. Plaintiffs

offer no response to the reasons why their ATS claim cannot proceed: (i) the ATS does not apply

to conduct occurring exclusively within a foreign sovereign’s territory; and (ii) the ATS provides

jurisdiction only for suits brought by non-U.S. citizens. See MTD 21-22. Accordingly, this Court

should dismiss plaintiffs’ “invidious persecution” claim with prejudice. See Sabre Int’l Sec. v.


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Torres Advanced Enter. Sols., Inc., 820 F. Supp. 2d 62, 71 (D.D.C. 2011); Saleh 2021 WL

4306113, at *5.

          Plaintiffs have likewise failed to salvage their civil conspiracy claim (Count Eight).

Although plaintiffs note that their civil conspiracy claim alleges that “the Crown Prince has

conspired to ‘prevent religious conversions and inflict severe pain on all UAE citizens who

renounced the Islamic faith,’” Opp’n Br. 11 (quoting Compl. ¶ 50), they still do not specify what

viable tort theory supports the claim or how “the elements of th[at] underlying tort are satisfied”

here, Nader v. Democratic Nat’l Comm., 567 F.3d 692, 697 (D.C. Cir. 2009); see MTD 19-20.

Accordingly, this Court should dismiss plaintiffs’ civil conspiracy claim with prejudice as well.

See Sabre Int’l Sec., 820 F. Supp. 2d at 71; Saleh, 2021 WL 4306113, at *5.

          B.     Plaintiffs’ State-Law Claims (Counts Four, Five, And Eight) Are Barred By
                 The Statute Of Limitations

          This Court should also dismiss plaintiffs’ conspiracy claim (Count Eight) and intentional

infliction of emotional distress claims (Counts Four and Five) as time barred—as it already did

with respect to the civil conspiracy claim against DarkMatter—because those claims are subject

to a three-year statute of limitations at most. See MTD 18-20 (discussing D.C. CODE § 12-301).

Plaintiffs concede as much by arguing (Opp’n Br. 11-13) only that the claims should be equitably

tolled.

          Plaintiffs’ state-law claims, however, cannot be equitably tolled. “District of Columbia

law does not recognize an equitable tolling exception to the statute of limitations.” Johnson v.

Marcheta Invs. Ltd. P’Ship, 711 A.2d 109, 112 (D.C. 1998); see also Bundy v. Sessions, 387 F.

Supp. 3d 121, 125 (D.D.C. 2019), aff’d, 812 F. App’x 1 (D.C. Cir. 2020). As the D.C. Court of

Appeals has explained, “where the legislature has provided no savings statute, courts would exceed




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their prescribed role by providing a remedy where the legislature has determined that none should

lie.” Sayyad v. Fawzi, 674 A.2d 905, 906 (D.C. 1996).5

       C.       Plaintiffs Fail To Satisfy The TVPA’s Exhaustion Requirement (Count Three)

       Plaintiffs’ TVPA claim must be dismissed because plaintiffs have failed to exhaust

available legal remedies in the place where the tort occurred. 28 U.S.C. § 1350, note § 2(b) (“A

court shall decline to hear a claim under this section if the claimant has not exhausted adequate

and available remedies in the place in which the conduct giving rise to the claim occurred.”); see

MTD 20-21. Although a failure to exhaust local remedies can be excused where such remedies

are inadequate or unavailable, the burden is on the plaintiff to make such a showing. See Escarria-

Montano v. United States, 797 F. Supp. 2d 21, 25 (D.D.C. 2011) (dismissing TVPA claim for lack

of subject matter jurisdiction because “Plaintiff has not shown that he has exhausted his




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          Citing authorities concerning federal law treatment of TVPA and other federal claims (and
none having to do with D.C. law), plaintiffs insist that they should be able to take advantage of an
“extraordinary circumstances” exception to the statute of limitations. Even if such a theory of
equitable tolling were available under D.C. law, no “extraordinary circumstance” stood in the way
of this suit. Plaintiffs claim that they did not file sooner out of fear of the Head-of-State
Defendants’ reach, Opp’n Br. 12, alleging that UAE security agents could kidnap and forcibly
remove them from Oregon, Compl. ¶ 13. But these naked assertions are unsupported by any facts,
let alone facts that could plausibly raise the assertions above the level of rank speculation. See
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 557 (2007) (neither “labels and conclusions” nor
“naked assertion[s]” in a complaint suffice to establish entitlement to relief); see also Davis v.
Jackson, No. 15-cv-5359, 2016 WL 5720811, at *11 (S.D.N.Y. Sept. 30, 2016) (“Generalized
allegations of fear of retaliation . . . are not sufficient to establish ‘extraordinary circumstances’
warranting application of equitable tolling.”). Moreover, plaintiffs’ suggestion that they finally
felt safe to file suit in 2020 against the Head-of-State Defendants is belied by statements in both
their complaint and opposition that they continue to feel threatened by the Head-of-State
Defendants to this day. See, e.g., Compl. ¶ 13 (alleging that “[t]oday, [plaintiffs] still feel
threatened and exposed and . . . [fear] that the President and Crown Prince can . . . forcibly remove
them from Oregon and literally kidnap and eventually imprison them in the UAE.”); Opp’n Br. 12
(“[C]ontinuing through today[,] Plaintiffs fear the Defendants and their reach.”). Plaintiffs have
thus made “no showing as to how things improved for [them] to be able to file [their suit] when
[they] did.” Enquist v. Chavez, No. 2:11-cv-00572, 2012 WL 2872795, at *7 (E.D. Cal. July 11,
2012), subsequently dismissed, 751 F.3d 1138 (9th Cir. 2014).

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administrative remedies”); Harbury v. Hayden, 444 F. Supp. 2d 19, 41 (D.D.C. 2006), aff’d, 522

F.3d 413 (D.C. Cir. 2008) (concluding TVPA claim should be dismissed because plaintiff “neither

alleged nor established that she has ever pursued and/or exhausted her remedies against her

husband’s alleged torturers in the place in which the conduct giving rise to the claim occurred”).

       Plaintiffs are thus wrong to claim (Opp’n Br. 13) that the Head-of-State Defendants have

the burden of demonstrating the availability and adequacy of remedies in the UAE. Plaintiffs cite

Collett v. Socialist Peoples’ Libyan Arab Jamahiriya, which reached that conclusion based on the

court’s reading of the TVPA’s legislative history. 362 F. Supp. 2d 230, 243 (D.D.C. 2005). But

such a conclusion conflicts with the text’s imperative that “[a] court shall decline to hear a claim

under [the TVPA] if the claimant has not exhausted adequate and available remedies in the place

in which the conduct giving rise to the claim occurred.” 28 U.S.C. § 1350, note § 2(b). The

TVPA’s text or design in no way suggests that courts should begin with the presumption that local

remedies in foreign countries are inadequate and unavailable.          For good reason:     such a

presumption would risk “affron[ting] other nations, producing friction in [the United States’]

relations with those nations and leading some to reciprocate” in kind. Bolivarian Republic of

Venez. v. Helmerich & Payne Int’l Drilling Co., 137 S. Ct. 1312, 1322 (2017). In line with the

TVPA’s text, more recent cases have sensibly placed the burden squarely on plaintiffs to make the

requisite showing. See Escarria-Montano, 797 F. Supp. 2d at 25; Harbury, 444 F. Supp. 2d at 41.

       Here, plaintiffs make no attempt to carry their burden of establishing that remedies afforded

by the UAE judicial system would be either inadequate or unavailable to them. Instead, plaintiffs

assert that they face a “risk of reprisal and violence” if they pursue “a local remedy.” Opp’n Br.

13-14. But they fail to substantiate that alleged risk or show that it is “substantial and serious.”

Doe v. Exxon Mobil Corp., 393 F. Supp. 2d 20, 25 (D.D.C. 2005). Given the Supreme Court’s



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recognition that exhaustion is still necessary for grievances against individuals in positions of

power, see Porter v. Nussle, 534 U.S. 516, 519 (2002) (holding that prisoners were still required

to exhaust prison grievance procedures even when their grievance was an alleged assault by prison

guards), plaintiffs cannot sidestep Congress’s imposition of an express exhaustion requirement for

TVPA claims by making a bare allegation that they “feel threatened and exposed” while they

continue to reside in Oregon. Opp’n Br. 13-14; see note 5, supra.

       D.      Plaintiffs Fail To Plead Sufficient Facts To Support Any Of Their Claims

       Finally, plaintiffs’ claims against the Head-of-State Defendants should be dismissed

because they do not “contain sufficient factual matter, accepted as true, to state a claim to relief

that is plausible on its face.” Iqbal, 556 U.S. at 678 (internal quotation marks omitted). As

explained in the Head-of-State Defendants’ motion to dismiss (at 17-18), the complaint does not

allege with adequate specificity that the President or Crown Prince participated in, ordered, or

otherwise were involved in the alleged assault. Plaintiffs’ complaint alleges only that the President

and/or Crown Prince, on behalf of the UAE government, hired a security company, which in turn

allegedly employed the security agents who allegedly assaulted Mr. Saleh. Compl. ¶¶ 6, 40.

Although plaintiffs’ opposition reiterates their conclusory allegation that the Head-of-State

Defendants “knew” about the assault, Opp’n Br. 10, plaintiffs fail to point to any specific facts

from which a court could plausibly infer the Head-of-State Defendants had such knowledge. That

conspicuous omission dooms their claims against the Head-of-State Defendants under any theory.




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                                        CONCLUSION

       For the foregoing reasons and those stated in the motion, the complaint should be dismissed

as to the President and Crown Prince.

       Dated: December 23, 2021                     Respectfully submitted,

                                                    /s/ Z.W. Julius Chen
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